il 'Case 2:O4-CV-02177-SHI\/|-STA Document 52 Filed 07/14/05 Page 1 of 3 Page|D 80

IN THE UNITED STATES DISTRICT COURT -HLED ev g § D'c'
WESTERN DISTRICT OF TENNESSEE

 

 

L.A. DARLING COMPANY,

Defendant.

WESTERN DlesIoN 05 JUL l '* AH||= 02
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SHELBY coUNTY HEALTH CARE ) CLER§DL(";§ FP'§TRL»£TE§(§UT
coRPoRATIoN d/b/a REGIoNAL ) ' ~
MEDICAL cENTER, )
` )
Plaintiffs, )
)
VS' ) NO. 2:04-CV-2177 *Ntw
)
)
)
)

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Comes now the parties, Teresa A. McCullough, as attorney for the Plaintiff, and John W.
Guarisco and Cheryl Rumage Estes, as attorneys for the Defendant, of this cause and for cause of
action would show to the Court as follows:

1. That the parties have settled their differences

2. That the claim has been paid in full.

3. That the cause be dismissed with prejudice with each party bearing its own costs and

attorney fees.

ALL OF WHICI-I IS, THEREFORE, ORDERED, ADJUDGED AND DECREED.
y »/ m

SAMUEL H. MAYS, JR.
United States District Court Judge

 

DATE:

 

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Case 2:O4-CV-O2177-SHI\/|-STA Document 52 Filed 07/14/05 Page 2 of 3 Page|D 81

  

MVL),

JOHN GUARISCO
Attorne or Defendant

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cHERYL`RUMAGE EsTE§
Attorney for Defendant

 

TENNSSEE

   

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This notice confirms a copy ot` the document docketed as number 52 in
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Honorable Samuel Mays
US DISTRICT COURT

